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                                                    1                                                          3
           UNITED STATES DISTRICT COURT                  1   APPEARING FOR MOEX:
                                                              Mr. Jack Reynolds
           EASTERN DISTRICT OF LOUISIANA                 2    PILLSBURY WINTHROP SHAW PITTMAN
                                                              2 Houston Center
     IN RE: OIL SPILL     ) MDL NO. 2179                 3    909 Fannin, Suite 2000
                                                              Houston, Texas 77010-1018
     BY THEOIL RIG      )                                4
     "DEEPWATER HORIZON" IN ) SECTION "J"                5   APPEARING FOR CAMERON INTERNATIONAL
     THE GULF OF MEXICO, ON )                                CORPORATION:
     APRIL 20, 2010    ) JUDGE BARBIER                   6    Ms. Kathleen A. Gallagher
                                                              BECK, REDDEN & SECREST
                  ) MAG. JUDGE SHUSHAN                   7    One Houston Center
                                                              1221 McKinney Street, Suite 4500
                                                         8    Houston, Texas 77010-2010
                                                         9
                                                             APPEARING FOR WEATHERFORD:
                                                        10    Mr. Michael G. Lemoine
                                                              JONES, WALKER, WAECHTER, POITEVENT,
                                                        11    CARRERE & DENEGRE, LLP
                                                              600 Jefferson Street, Suite 1600
                                                        12    Lafayette, Louisiana 70501
                                                        13
                                                             APPEARING FOR DRIL-QUIP, INC.:
                                                        14    Ms. Wendy Ware Bishop
                                                              WARE, JACKSON, LEE & CHAMBERS
                                                        15    America Tower, 42nd Floor
               *****************                              2929 Allen Parkway
                                                        16    Houston, Texas 77019-7101
                  VOLUME 1                              17
               *****************                             APPEARING FOR M-I SWACO:
                                                        18    Mr. Christopher C. Loeber
                                                              MORGAN, LEWIS & BOCKIUS, LLP
                                                        19    502 Carnegie Center
            Deposition of Troy James                          Princeton, New Jersey 08540-6241
     Hadaway, taken at Pan-American Building,           20
     601 Poydras Street, 11th Floor, New Orleans,            APPEARING FOR HALLIBURTON:
                                                        21    Ms. Aimee L. Williams
     Louisiana, 70130, on the 12th day of July,               Ms. Laci M. Dreher
     2011.                                              22    GODWIN RONQUILLO
                                                              1201 Elm Street, Suite 1700
                                                        23    Dallas, Texas 75270-2041
                                                        24
                                                        25

                                                    2                                                          4
 1         APPEARANCES                                   1   APPEARING FOR THE UNITED STATES COAST GUARD:
 2                                                            Lt. Brooke Grant
 3
 4   APPEARING FOR THE PLAINTIFFS' STEERING
                                                         2    Lt. Jeremy Greenwood
     COMMITTEE:                                               UNITED STATES COAST GUARD
 5    Mr. William E. Bonner                              3    Eighth District Legal
      CUNNINGHAM BOUNDS, LLC                                  500 Poydras Street
 6    1601 Dauphin Street                                4    New Orleans, Louisiana 70130
      Mobile, Alabama 36604                              5
 7
 8   APPEARING FOR BP, INC.:                                 APPEARING FOR THE STATE OF LOUISIANA:
      Ms. Bridget K. O'Connor                            6    Mr. Henry Dart
 9    KIRKLAND & ELLIS                                        510 North Jefferson Street
      655 Fifteenth Street, NW                           7    Covington, Louisiana 70433
10    Washington, D.C. 20005-5793                        8    Ms. Phyllis E. Glazer
11    Ms. Emily R. Dempsey
      KIRKLAND & ELLIS                                        LOUISIANA DEPARTMENT OF JUSTICE
12    300 North LaSalle                                  9    400 Poydras Street, Suite 1600
      Chicago, Illinois 60654                                 New Orleans, Louisiana 70130-3220
13                                                      10
14   APPEARING FOR TRANSOCEAN:                          11
      Mr. Carter L. Williams
15    SUTHERLAND ASBILL & BRENNAN
                                                             ALSO PRESENT:
      1001 Fannin, Suite 3700                           12    Mr. Mark Hendrix, Videographer
16    Houston, Texas 77002-6760                         13
17    Mr. Matthew O. Gatewood                           14
      SUTHERLAND ASBILL & BRENNAN                       15
18    1275 Pennsylvania Avenue, N.W.                    16
      Washington, D.C. 20004
19                                                      17
20   APPEARING FOR ANADARKO PETROLEUM COMPANY:          18
      Mr. Warren E. George                              19
21    Ms. Marilee J. Allan                              20
      BINGHAM MCCUTCHEN                                 21
22    Three Embarcadero Center
      San Francisco, California 94111-4067
                                                        22
23                                                      23
24                                                      24
25                                                      25

                                                                                                 1 (Pages 1 to 4)
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                                            25                                    27




1                                                1




23      Q. Now, how many years total were
24   you on the DEEPWATER HORIZON?
25      A. Almost five years.
                                            26                                    28




1                                                1




                                                                7 (Pages 25 to 28)
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                                                    173                                                        175
                                                           1            When somebody's coming on that's
                                                           2   going to be staying overnight, everybody goes
                                                           3   through an orientation. That orientation is
                                                           4   required every time you come to the rig,
                                                           5   except if you've been there -- the only time
                                                           6   it's required is if you haven't ever been
                                                           7   there -- this is your first time -- and if
                                                           8   you did come beforehand and you -- it's been
                                                           9   longer than six months, you have to repeat
1                                                         10   the orientation again.
                                                          11        Q. (By Ms. O'Connor) Okay. And
                                                          12   when they arrive, it's my understanding that
                                                          13   they watch a safety video?
                                                          14        A. They watch different videos,
                                                          15   depending on what's going on in the
                                                          16   operations themselves.
                                                          17            Transocean has required
                                                          18   orientation video that talks about our
                                                          19   processes themselves, our Mission Statement,
                                                          20   our goals, so forth like that
                                                          21        Q. So that video, is that a
                                                          22   Transocean video that's shown on all -- all
                                                          23   Transocean rigs? It's not specific to the
                                                          24   DEEPWATER HORIZON?
                                                          25        A. Yes, ma'am, it's -- it's
                                                    174                                                        176
                                                           1   Transocean worldwide.
                                                           2       Q. Okay. And what does that video
                                                           3   show?
 4       Q.                     All right. Let's           4            Whoops.
 5   talk about when individuals come to the rig           5       A. Like I said, the Transocean
 6   for the first time, whether they're visitors          6   processes, like a basic overview of THINK,
 7   or new to the rig in some way, can you                7   START, Time Out For Safeties, a Management of
 8   describe the process that they go through             8   Change, or our Mission Statements, and so
 9   upon arrival to the rig?                              9   forth. And then we'll go into a little bit
10       A. Yes, ma'am.                                   10   other details on -- on some minor concerns.
11       MR. WILLIAMS: Object to form.                    11   Not concerns, that's the wrong word. Dealing
12       A. Yes, ma'am. They -- it depends                12   with just a general brief orientation, you
13   if you're a short-stay visitor or you're             13   know, like reporting incidences. If you get
14   actually going to be there. And the                  14   sick or something or you get injured, you
15   short-stay visitor just says if you're just          15   must report that to the medic and to the
16   coming out for a couple of hours and you're          16   Supervisors, things like that.
17   going to leave within a couple of hours is           17       Q. Okay. And then I also
18   different than somebody that's going to be           18   understand that visitors receive a safety
19   staying overnight. They still go through an          19   card at some point during their orientation;
20   orientation, but the orientation is a little         20   is that correct?
21   bit shorter, and they are required to have           21       A. It's a welcome aboard card.
22   somebody -- a full-time employee on the rig          22       Q. Okay.
23   with them at all times. They cannot wonder           23       A. And that card entails -- it's a
24   off or venture off by themselves or anything         24   fold-up card that they can carry with them.
25   like that.                                           25   First off, it's just like a -- it -- it has
                                                                               44 (Pages 173 to 176)
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                                                177                                                       179
 1   your room number and your emergency stations
 2   and lifeboat assignments that are assigned to        2
 3   you. It also has a copy of the station bill
 4   and what to do in emergencies and what the
 5   alarms sound like.
 6       Q. Okay. And there will be some
 7   rig-specific information on that card that
 8   you just mentioned, room numbers, emergency
 9   stations, et cetera. Is the format of that
10   card consistent on all Transocean rigs?          1
11       A. The format will be the same, but
12   some of the information in it will be
13   different, because the card is rig --
14   rig-specific versus -- you know, we were a
15   semi versus other semis in the fleet or a
16   drillship. Those -- that -- that stuff will
17   be different.
18       Q. Okay. But the purpose of the
19   card would be the same in terms of why you're
20   giving it to visitors and what information
21   they should have on a rig?
22       A. Yes, ma'am.

                                                      24          Q. Okay? And put -- putting that
                                                      25      aside, but as somebody who works and sleeps
                                                178                                                       180
                                                       1      on the rig, did you have any concerns about
                                                       2      the competency of any of the Transocean rig
                                                       3      crew at the time of the April 20th accident?
                                                       4          A. No, ma'am.
                                                       5          Q. And just going through some of
                                                       6      the specific individuals that I suspect you
                                                       7      probably know given your time on the rig, did
                                                       8      you know the OIM, Mr. Jimmy Harrell?
                                                       9          A. Yes, ma'am.
1                                                     10          Q. And did you view him to be an
                                                      11      experienced OIM?
                                                      12          A. Yes, ma'am.
                                                      13          Q. And did you view him -- consider
                                                      14      him to be competent for that position?
                                                      15          A. Yes, ma'am.
                                                      16          Q. Same for Randy Ezell, the Senior
                                                      17      Toolpusher, did you view him as experienced
                                                      18      in that position?
                                                      19          A. Yes, ma'am.
                                                      20          Q. And did you consider him to be
                                                      21      competent for the Toolpusher position?
                                                      22          A. Very competent.
                                                      23          Q. Did you know Jason Anderson,
                                                      24      also a Toolpusher on the rig?
                                                      25          A. Yes, ma'am.
                                                                             45 (Pages 177 to 180)
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                                                      181                             183
 1          Q. And did you consider him to be
 2      experienced in that position?
 3          A. Yes, ma'am.
 4          Q. And competent for that position?
 5          A. Yes, ma'am.
 6          Q. Dewey Revette, the Driller, did
 7      you know him?
 8          A. Yes, ma'am.
 9          Q. Did you understand him to also
10      be experienced in his position?                     1
11          A. Yes, ma'am.
12          Q. And consider him to be competent
13      for that position?
14          A. Yes, ma'am.
15          Q. The last one I'll ask you about
16      is Wyman Wheeler, did you know him?
17          A. Yes, ma'am.
18          Q. And did you consider him to be
19      experienced in his position?
20          A. Yes, ma'am.
21          Q. And also competent in that
22      position?
23          A. Yes, ma'am.
24          Q. Okay. If you'd had any concerns
25      about the competency of any of those
                                                      182                             184
    1   individuals to fulfill their particular job
    2   duties, would you have raised that with
    3   someone?
    4       A. Yes, ma'am.
    5       Q. And you didn't have occasion to
    6   do that because you didn't have concerns
    7   about their competency?
    8       A. Correct.
    9
1                                                           1




                                                                46 (Pages 181 to 184)
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                                                     233                             235

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                                                     234                             236




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13       A. All personnel were required to
14   attend weekly Safety Meetings with
15   Transocean. That's usually conducted on
16   their off time, after they get off tour. So
17   the Departments would each hold their
18   individual Safety Meetings in correspondence
19   to when the personnel get off tour. So
20   Maintenance will have theirs at a different
21   time than, say, the Drilling Department will,
22   because they work a different tour.




                                                                   59 (Pages 233 to 236)
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                                                                              277

   1
   2                If TROY JAMES HADAWAY, have read
   3   the foregoing deposition and   reby affix my
   4   signature that same is true and correct,
   5   ex     as noted on the attached Amendment
   6   Sheet.



                               TR~ADAWAY
   7

   8


   9

  10
       THE STATE OF '~(-~~~-"»)
  11

       COUNTY OF
  12
  13        Before me,                         , on
       this day personally appeared TROY JAMES
  14   HADAWAY, known to me (or proved to me on the
       oath of                          or    rough
  15                        ) to be the    rson whose
       name is      cribed to the foregoing
  16   instrument and executed the same for the
       purposes and consideration therein expressed.
  17        GIVEN UNDER my hand and seal of office
       this   2""'   day of   J../I,                     ' 2011.
  18
                                      ()
  19                             (.'       CL(\c~.       tv~"   fl/ lc0e"lC£ e 2­
  20                          Notary Public in and for
                              The State of
  21
  22                              Cella MMenendet
  23                               NOTARY PUBUC
                                   STATE OF TEXAS
  24                           MY COMM. EX? 06118/2014

  25



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                                                     1                                                                     3
             UNITED STATES DISTRICT COURT                 1      A P P E A R A N C E S (Continued)
                                                          2
             EASTERN DISTRICT OF LOUISIANA                3   APPEARING FOR WEATHERFORD:
                                                                Mr. William J. Joyce
                                                          4     JONES, WALKER, WAECHTER, POITEVENT,
     IN RE: OIL SPILL     ) MDL NO. 2179                        CARRERE & DENEGRE, LLP
     BY THEOIL RIG      )                                 5     201 St. Charles Avenue
                                                                New Orleans, Louisiana 70170
     "DEEPWATER HORIZON" IN ) SECTION "J"                 6
     THE GULF OF MEXICO, ON )                             7   APPEARING FOR M-I SWACO:
                                                                Mr. R. Sean Brennan, Sr.
     APRIL 20, 2010    ) JUDGE BARBIER                    8     MORGAN, LEWIS & BOCKIUS, LLP
                  ) MAG. JUDGE SHUSHAN                          1000 Louisiana Street, Suite 4200
                                                          9     Houston, Texas 77002-5006
                                                         10
                                                              APPEARING FOR HALLIBURTON:
                                                         11     Mr. Floyd R. Hartley, Jr.
                                                                Ms. Jill J. Prudhomme
                                                         12     GODWIN RONQUILLO
                                                                1201 Elm Street, Suite 1700
                                                         13     Dallas, Texas 75270-2041
                                                         14
                                                              APPEARING FOR THE UNITED STATES:
                                                         15     Ms. Rachel Hankey
                                                                U.S. DEPARTMENT OF JUSTICE
                                                         16     ENVIRONMENTAL & NATURAL
                                                                RESOURCES DIVISION
                                                         17     601 D Street, N.W.
                                                                Washington, D.C. 20004
                                                         18
                                                         19   APPEARING FOR THE STATE OF LOUISIANA:
                                                                Mr. Lambert J. "Joe" Hassinger, Jr.
                                                         20     GALLOWAY, JOHNSON, TOMPKINS, BURR
                                                                AND SMITH
                                                         21     701 Poydras Street, 40th Floor
              Deposition of DEREK HART, taken                   New Orleans, Louisiana 70139
                                                         22
     at Pan-American Building, 601 Poydras Street,       23   ALSO PRESENT:
     11th Floor, New Orleans, Louisiana, 70130, on             Mr. Peter Jennings, Logistics Supervisor
                                                         24    Mr. James "Chad" Paris, Videographer
     the 7th day of October, 2011.                             Mr. Danny Damiani
                                                         25

                                                     2                                                                     4
 1         APPEARANCES                                    1             INDEX
 2                                                        2        VIDEOTAPED ORAL DEPOSITION OF
 3   APPEARING FOR THE PLAINTIFFS' STEERING                            DEREK HART
     COMMITTEE:                                           3           OCTOBER 7, 2011
 4     Mr. Guy E. Matthews                                4
       MATTHEWS, LASON & JOHNSON                                                            PAGE
 5     200 Bering Drive, Suite 700                        5   Appearances . . . . . . . . . . . . . . 2
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 6                                                            Examination by Ms. Hankey . . . . . . . 68
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       Ms. Sylvia N. Winston                              8   Examination by Mr. Hartley . . . . . . . 228
 8     KIRKLAND & ELLIS                                       Examination by Ms. Allan . . . . . . . . 254
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 9     Chicago, Illinois 60654                           10   Signature and changes . . . . . . . . . 279
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11     Mr. Jack Massey (via videoconference)             12               EXHIBITS
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13     1001 Fannin, Suite 3700                                  Curriculum Vitae of Derek Hart, dated
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14                                                              935
15   APPEARING FOR ANADARKO PETROLEUM COMPANY:           16
       Ms. Marilee J. Allan                                   EXHIBIT NO. 5701 . . . . . . . . . . . . 37
16     BINGHAM MCCUTCHEN                                 17     Distribution List Name: DW Horizon
       Three Embarcadero Center                                 Investigation Team, TRN-MDL-02855017
17     San Francisco, California 94111-4067              18
18                                                            EXHIBIT NO. 5702 . . . . . . . . . . . . 38
     APPEARING FOR CAMERON INTERNATIONAL                 19     DWH Investigation - Sharepoint, dated
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19   CORPORATION:
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       Mr. Brad Coffey                                   21   EXHIBIT NO. 5703 . . . . . . . . . . . . 38
20     BECK, REDDEN & SECREST                                   Work Tasks, Time Required & Plan for
       One Houston Center                                22     Completion of DWH Investigation,
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22                                                            EXHIBIT NO. 5704 . . . . . . . . . . . . 70
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                                           145                                                        147




0:04
0:07



                                                  9       Q. And from the Transocean
0:04
0:07   1                                         10   investigation report you guys decided against
                                                 11   investigating safety culture on board the
                                                 12   DWH?
                                                 13       MR. MASSEY: Objection; form.
                                                 14       A. The -- the conclusion that we
0:04
0:07                                             15   came to and as -- was that that was not
                                                 16   something that had an impact on the -- on the
                                                 17   incident. So we did not investigate safety
                                                 18   culture, per se...
                                                 19       Q. (BY MS. WINSTON) And how did
                                                 20   you guys come to that conclusion, that it
                                                 21   didn't have an impact on the incident if you
                                                 22   guys didn't even investigate it?
                                                 23       MR. MASSEY: Objection; form.
                                                 24       A. Well, two things I would say:
                                                 25   A, it's not as part of the remit that was set
                                           146                                                        148
                                                  1   out in our executive summary. But through
                                                  2   our undertaking of interviews and looking at
                                                  3   the -- such as the Lloyd's report, neither
                                                  4   Mr. Myers or I made a thought that this was
                                                  5   something that needed to be investigated.
                                                  6   There was a very strong -- in our opinion, it
                                                  7   was a very strong safety culture on the
                                                  8   Deepwater Horizon, and I think -- I don't
                                                  9   think I know that that is what's reflected in
                                                 10   the Lloyd's report.




                                                                       37 (Pages 145 to 148)
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                                           217                                                       219




1:48
1:50




1:48
1:50   1                                         1




1:48
1:51




1:49
1:51




                                           218                                                       220




1:
                                                  6       A. I believe that the crew of the
                                                  7   Deepwater Horizon did a tremendous job in
                                                  8   safely evacuating 115 survivors from -- from
                                                  9   the rig in a very, very difficult
1:49
1:52   1                                         10   circumstances.




1:50
1:52




1:50
1:52




                                                                      55 (Pages 217 to 220)
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                                                 5            Earlier this afternoon you were
                                                 6   asked about possible investigation or lack of
                                                 7   investigation of the safety culture at
                                                 8   Transocean. I'm just setting that as a -- a
                                                 9   topic here or a -- an area of exploration.
                                                10   I'd like you and your counsel to turn to
                                                11   tab 1 of the documents we've provided. I'm
                                                12   going to mark that as Exhibit 5766, which has
                                                13   Bates No. TRN-MDL-01007255.
                                                14       A. Yes, I have that in front of me
                                                15   yes.
                                                16       Q. Okay. I would like you to turn
                                                17   to the Bates number that -- the page that
                                                18   ends in Bates No. 7261.
                                                19            Are you -- let me back up one
                                                20   second. Are you aware of Transocean
                                                21   performing from time to time performance
                                                22   monitoring audit and assessment or PMAA?
                                                23       A. Yes, I am.
                                                24       Q. Okay. And then turning to 7261.
                                                25       A. Yes, I have that in front of me.
                                          254                                                    256
                                                 1       Q. Okay. Down at the bottom of
                                                 2   that page under the general heading of
                                                 3   "Policies & procedures" there is a heading --
                                                 4   sub heading saying, "Client," colon, and it
:45
:54                                              5   reads, "Everything from" --
                                                 6       A. Yes, I have that.
                                                 7       Q. And it reads, Everything from
                                                 8   the client company man indicated that BP was
                                                 9   very happy with the rig performance, comma,
:45
:54   1                                         10   safety culture and moral, perhaps meaning
                                                11   morale, of the crews. He did indicate there
                                                12   was inconsistence with the catering crew. He
                                                13   said, BP is making a concerted effort to
                                                14   adopt the Transocean Company Management
:46
:55                                             15   System.
                                                16            Do you see that?
                                                17       A. Yes, I do.
                                                18       Q. In your investigations for
                                                19   Transocean did you ever have any indication
                                                20   that BP was not happy with the safety culture
                                                21   of the Deepwater Horizon.
                                                22       A. I -- I found no indication of
                                                23   that, and I think the reflection of that is
                                                24   with the exception of one well, the -- the
                                                25   Deepwater Horizon worked continuously for BP
                                                                    64 (Pages 253 to 256)
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                                                               257                                                        259
           1   since it was built.
           2       Q. And this self-audit and other
           3   audits seem to indicate that BP was happy
           4   with the safety culture and performance of
2:55
2:58       5   Transocean up to the time of the incident; is
           6   that correct?
           7       A. That is correct.
           8

2:56
2:59   1                                                             1




                                                                     18           Again, you've had no indications
                                                                     19   in your investigations that BP was anything
2:57
2:59   20                                                            20   but happy with Transocean's safety management
                                                                     21   system?
                                                                     22       A. I -- I found no indication in my
                                                                     23   areas of investigation that BP was in any way
                                                                     24   unhappy with the safety management of the
                                                                     25   Tran- -- sorry, of the Deepwater Horizon.
                                                               258                                                        260
                                                                      1       Q. And you would expect that if
                                                                      2   there was unhappiness, that that would have
                                                                      3   been brought up prior to the time of the
                                                                      4   incident and would have been something that
1:00
2:57                                                                  5   you would have investigated as part of your
                                                                      6   investigation?
                                                                      7       A. I say I found no in- -- we found
                                                                      8   no indication of that, and if there -- along
                                                                      9   with a lot of other data that we analyzed, if
1:00
2:57   1                                                             10   there had been any way -- complaint on record
                                                                     11   from BP, then, yes, we would certainly have
                                                                     12   investigated that.


:01
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                                                                                          65 (Pages 257 to 260)
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                                           269                                                  271




1:18
1:21




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1:19
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                                           270                                                  272




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1      1




                                                 15       Q. Did you reach any conclusions
                                                 16   over the course of your investigation as to
                                                 17   why 115 people escaped the Deepwater Horizon
                                                 18   safely, despite these difficult conditions?
                                                 19       A. I did.
                                                 20       Q. What were your conclusions?
                                                 21       A. My conclusions were that -- that
                                                 22   those involved on the night of the 20th,
                                                 23   particularly the supervisors of the Deepwater
                                                 24   Horizon crew did a tremendous job in
                                                 25   organizing that safe evacuation from the rig,
                                                                     68 (Pages 269 to 272)
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                                                        273                                                        275
        1   and that is also backed up by some of our          1   that finding.
        2   service partners that were also on the rig,        2       Q. Another strength is the use of
        3   that the effectiveness and the quality of the      3   the Think plan, correct?
        4   training that both the Transocean crew had         4       A. That is correct.
1:23
1:25    5   received and, also, the -- some of our             5       Q. And do you have any reason to
        6   service partners were a major contributor to       6   disagree with that finding?
        7   the successful evacuation and safe recovery        7       A. I do not.
        8   of 115 people.                                     8       Q. The report also lists a strength
        9       Q. In a similar vein, Mr. Hart, do             9   as empowerment. Do you see that?
1:23
1:26   10   you recall -- I think you've testified today,     10       A. I do.
       11   but do you recall reading the Lloyd's report      11       Q. And what does it mean when it
       12   on the Deepwater Horizon safety culture           12   says that the rig was empowered or the rig
       13   during the course of the investigation?           13   crew were empowered?
       14       A. I -- I've already testified                14       A. This -- empowerment within
1:24
1:26   15   earlier today that I'm -- I've read that          15   Transocean means that people will take
       16   report, yes.                                      16   actions and undertake things, based on self
       17       Q. And in your view, having been              17   motivation, that they don't necessarily have
       18   involved in operations on rigs for more than      18   to be told or led to do things.
       19   20 years and having been a -- in many ways, a     19       Q. Okay. What is the next
1:24
1:26   20   specialist in QHSE issues, was that report        20   strength?
       21   positive or negative about the safety culture     21       A. It says, strong safety culture.
       22   on the Deepwater Horizon?                         22   It was clear that the crews understood their
       23       A. In my opinion, that -- the                 23   responsibility and accountability for safety
       24   overall conclusion of that report was very        24   and the crews they work with. This is led
1:24
1:26   25   positive about the Deepwater Horizon.             25   from the top. And there is a genuine belief
                                                        274                                                        276
        1   There -- if you look at the summary to the         1   in keeping each other safe and using the
        2   report, it lists a number of positives that        2   tools and processes they have got to do that.
        3   were found by Mrs. -- Mrs. Annand and              3       Q. We are moving pretty briskly
        4   Mr. Moon.                                          4   here. So what are the last two strengths you
1:24
1:27    5        Q. Mr. Hart, I'm going to hand you            5   see here in the -- in the document?
        6   a document that's been previously marked as        6       A. The HSE policies and awareness
        7   Exhibit 4261, which is the Lloyd's Register        7   and resources for safety.
        8   safety management systems and safety culture       8       Q. You interviewed the Lloyd's
        9   document for the closeout meeting. And             9   auditors during the course of your
1:25
1:27   10   starting on Page TRN-INV-16754, will you          10   investigation; did you not?
       11   please list the strengths that the Lloyd's        11       A. That's correct, I interviewed
       12   auditor found regarding the Deepwater Horizon     12   both Ms. Annand and Mr. Moon.
       13   safety culture?                                   13       Q. And it was these two individuals
       14        A. It reads, There was a strong              14   who developed the report which lists these
1:25
1:27   15   leadership on the rig, in brackets, the OIM       15   rig's strengths, correct?
       16   and his team, including supervisors, closed       16       A. That -- that is correct.
       17   brackets, and on the beach, and in brackets       17       Q. And it is these two individuals
       18   it says RMP, which stands for rig manager         18   that agreed that the rig had a strong safety
       19   performance. In particular, people recognize      19   culture?
1:25
1:27   20   and appreciate the rig manager performance        20       A. Yes, and they -- they -- I
       21   efforts to get the rig back to basics.            21   interviewed them on the issues that they
       22        Q. And do you agree with that                22   raised in their report, and they -- they
       23   finding?                                          23   confirmed that.
       24        A. I have no -- I -- I found                 24
       25   nothing within my investigation to dispute
                                                                                   69 (Pages 273 to 276)
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